













NUMBER 13-09-00458-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


                                                                                                                      


MISSION CONSOLIDATED 

INDEPENDENT SCHOOL DISTRICT,					Appellant,


v.


GLORIA GARCIA,								 Appellee.

                                                                                                                      




On appeal from the County Court at Law No. 6
of Hidalgo County, Texas.

                                                                                                                       


OPINION ON REHEARING



Before Justices Rodriguez, Garza, and Benavides


Opinion on Rehearing by Justice Garza



	We grant the motion for rehearing filed by appellant, Mission Consolidated
Independent School District (the "District"), vacate and withdraw our previous opinion and
judgment dated January 28, 2010, and issue this opinion in its place.

	In this accelerated interlocutory appeal, the District challenges the trial court's denial
of a plea to the jurisdiction in favor of appellee, Gloria Garcia.  By four issues, which can
be properly categorized as three, the District argues that the trial court erred in denying its
plea to the jurisdiction because:  (1) Garcia failed to present evidence to raise a fact issue
in response to its plea based on the absence of jurisdictional facts; (2) Garcia's lawsuit was
not timely filed under the Texas Commission on Human Rights Act ("TCHRA"), see Tex.
Lab. Code Ann. § 21.254 (Vernon 2006); and (3) the District is not an "employer" within the
context of the TCHRA, and, thus, there is no waiver of sovereign immunity.  We affirm in
part and reverse and render in part.

I.  Background

	Initially, this case involved three terminated school-district employees--Garcia,
Melinda Sotuyo, and Deborah Medina--who filed separate lawsuits against the District and
its superintendent, H.F. "Jackie" Dyer, alleging violations of the TCHRA and various
common-law claims. (1)  See Mission Consol. Indep. Sch. Dist. v. Garcia, 166 S.W.3d 902,
903 (Tex. App.-Corpus Christi 2005), aff'd in part, rev'd in part, 253 S.W.3d 653 (Tex.
2008).  The District filed a plea to the jurisdiction in each case asserting immunity under
section 101.106 of the Texas Tort Claims Act, and the trial court denied the District's pleas. 
See Tex. Civ. Prac. &amp; Rem. Code Ann. § 101.106 (Vernon 2005).  On original submission
to this Court, the cases were consolidated.  We affirmed the trial court's denial of the pleas,
concluding that section 101.106 of the Texas Tort Claims Act did not apply to the
underlying claims.  See Garcia, 166 S.W.3d at 905.

	On further appeal, the supreme court concluded that:  (1) the Texas Tort Claims
Act's election-of-remedies provision governs all lawsuits filed against a governmental unit;
(2) the employees' common-law claims against the District and the superintendent were
barred by the Texas Tort Claims Act's election-of-remedies provision; and (3) the Texas
Tort Claims Act's election scheme did not bar the employees' recovery under the TCHRA
"because the Legislature has consented to suits against the government under the TCHRA
. . . and a suit that is based on the TCHRA is not one brought under the [Texas] Tort
Claims Act."  Garcia, 253 S.W.3d at 654, 660-61 (stating, in particular, that "[w]hile this
Court has not previously addressed the issue, all the courts of appeals that have
considered it have concluded that the TCHRA clearly and unambiguously waives immunity,
and we agree. . . .  In this case . . . Garcia's TCHRA claims against the ISD survive").

	On remand, the District filed another plea to the jurisdiction (2) contending that:  (1)
Garcia failed to present evidence to raise a fact issue in response to its plea based on the
absence of jurisdictional facts; (2) Garcia failed to comply with the notice provisions
contained in the TCHRA, see Tex. Lab. Code Ann. § 21.254; and (3) the District is not an
"employer" within the context of the TCHRA, and, therefore, the trial court lacked subject
matter jurisdiction over Garcia's claims.  See id. § 21.002(8) (Vernon Supp. 2009).  After
a hearing, the trial court denied the District's plea to the jurisdiction.  Thereafter, the District
filed a request for findings of fact and conclusions of law.  The trial court did not issue any
fact findings or conclusions; this accelerated interlocutory appeal ensued.  See Tex. R.
App. P. 28.1; see also Tex. Civ. Prac. &amp; Rem. Code Ann. §§ 51.014(a)(8) (Vernon 2008),
101.001(3)(B) (Vernon 2005).II.  Standard of Review

	A plea to the jurisdiction is a dilatory plea used to defeat a cause of action without
regard to whether the claims asserted have merit.  Bland Indep. Sch. Dist. v. Blue, 34
S.W.3d 547, 554 (Tex. 2000).  The plea challenges the trial court's subject matter
jurisdiction.  Id.; see Tex. Dep't of Transp. v. Jones, 8 S.W.3d 636, 638 (Tex. 1999). 
Whether a trial court has subject matter jurisdiction and whether the pleader has alleged
facts that affirmatively demonstrate the trial court's subject matter jurisdiction are questions
of law that we review de novo.  Tex. Dep't of Parks &amp; Wildlife v. Miranda, 133 S.W.3d 217,
226 (Tex. 2004); Tex. Natural Res. Conservation Comm'n v. IT-Davy, 74 S.W.3d 849, 855
(Tex. 2002).

	The plaintiff has the burden to plead facts affirmatively showing that the trial court
has jurisdiction.  Tex. Ass'n of Bus. v. Tex. Air Control Bd., 852 S.W.2d 440, 446 (Tex.
1993); Univ. of N. Tex. v. Harvey, 124 S.W.3d 216, 220 (Tex. App.-Fort Worth 2003, pet.
denied).  We construe the pleadings liberally in favor of the pleader, look to the pleader's
intent, and accept as true the factual allegations in the pleadings.  See Miranda, 133
S.W.3d at 226, 228; City of Fort Worth v. Crockett, 142 S.W.3d 550, 552 (Tex. App.-Fort
Worth 2004, pet. denied). If a plea to the jurisdiction challenges the existence of
jurisdictional facts, we consider relevant evidence submitted by the parties when necessary
to resolve the jurisdictional issues raised, as the trial court is required to do, even those
facts which may implicate the merits of the cause of action.  Miranda, 133 S.W.3d at 227;
Blue, 34 S.W.3d at 555 (confining evidentiary review to evidence that is relevant to the
jurisdictional issue); see City of Waco v. Kirwan, 298 S.W.3d 618, 622 (Tex. 2009).

	A trial court's review of a plea to the jurisdiction challenging the existence of
jurisdictional facts mirrors that of a traditional motion for summary judgment.  Miranda, 133
S.W.3d at 228; see Tex. R. Civ. P. 166a(c).  The governmental unit is required to meet the
summary judgment standard of proof for its assertion that the trial court lacks jurisdiction. 
Miranda, 133 S.W.3d at 228.  Once the governmental unit meets its burden, the plaintiff
is then required to show that there is a disputed material fact regarding the jurisdictional
issue.  Id.  If the evidence creates a fact question regarding jurisdiction, the trial court must
deny the plea to the jurisdiction and leave its resolution to the fact finder.  Id. at 227-28. 
But, if the evidence is undisputed or fails to raise a fact question on the jurisdictional issue,
the trial court rules on the plea to the jurisdiction as a matter of law.  Id. at 228.  

	"In considering this evidence, we 'take as true all evidence favorable to the
nonmovant' and 'indulge every reasonable inference and resolve any doubts in the
nonmovant's favor.'"  Kirwan, 298 S.W.3d at 622 (quoting Miranda, 133 S.W.3d at 228). 
Further, a defendant cannot simply deny the existence of jurisdictional facts and force the
plaintiff to raise a fact issue.  See Johnson v. Brewer &amp; Pritchard, P.C., 73 S.W.3d 193,
207 (Tex. 2002); see also County of Cameron v. Brown, 80 S.W.3d 549, 555 (Tex. 2002)
("In deciding a plea to the jurisdiction, a court may not weigh the claims' merits but must
consider only the plaintiffs' pleadings and evidence pertinent to the jurisdictional inquiry.").

III.  Discussion

A. 	Whether Garcia Failed to Raise a Fact Issue as to Jurisdictional Facts

	In its first issue, the District contends that Garcia presented no evidence to raise a
fact issue in response to its plea to the jurisdiction based on the absence of jurisdictional
facts.  The District argues that it conclusively disproved essential elements of each of
Garcia's causes of action based on the evidence it presented to the trial court.  Garcia
counters that her pleadings sufficiently invoke the subject matter jurisdiction of the trial
court and that the trial court's denial of the District's plea to the jurisdiction was proper
because the District is attempting to resolve the underlying merits of the case, which is an
inappropriate use of a plea to the jurisdiction.

	In her original petition, Garcia noted that she first began working for the District in
October 1976, and "performed all the duties assigned to her with loyalty, dedication[,] and
hard work."  However, on or about February 19, 2003, she was "wrongfully discharged by
a management employee of [the District] for illegal and discriminatory reasons, including,
but not limited to, participating in an investigation involving another district employee . . .
and for exercising her protected right to freedom of association."  Garcia further alleged
that "she was discriminated against by the Defendant School District due to her race and
national origin, namely--Hispanic/Mexican-American descent, gender--female, and due
to her age, 48 (d.o.b.--06/15/1954)" and that "her termination was part of a larger unwritten
plan or scheme of the Defendant School District to discriminate against older Hispanic
female employees who were politically associated with persons adverse to the
Administration."  Garcia also stated that "there was no legitimate business justification for
her termination" because she "had always performed a satisfactory job for the Defendant
during her employment," that "there was work available and there continues to be work
available which [Garcia] could perform," and that she had fulfilled all statutory prerequisites
before filing this action.

	In response to Garcia's original petition, the District filed a plea to the jurisdiction
challenging Garcia's jurisdictional facts. The District argued that the trial court lacked
subject matter jurisdiction over Garcia's discrimination claims because the employee
selected to replace Garcia is of the same gender, national origin, and race and is three
years older than Garcia.  The District further argued that the trial court did not have subject
matter jurisdiction over Garcia's retaliation claim because she "did not participate in an
investigation related to a claim brought pursuant to Chapter 21 [of the labor code]."

	At the hearing on the District's plea to the jurisdiction, two affidavits were admitted
as part of the District's evidence.  The first affidavit was executed by Rebecca Morrison,
the Director of Human Resources for the District, who averred that:  (1) she had reviewed
Garcia's employment records; (2) Garcia had served as "one of two Community/Home
School Liaisons for Veterans Memorial High School"; and (3) the next person hired to fill
that position was Zoila Longoria.  The second affidavit, executed by Longoria, provided
that:  (1) Longoria's birthday is April 14, 1951; (2) she is Hispanic; (3) she is a female; and
(4) her national origin is Mexican-American.  The District did not present any evidence
pertinent to Garcia's retaliation claim.

	1.	Applicable Law

	The TCHRA prohibits an employer from discharging or in any other way
discriminating against an employee because of the employee's race, color, disability,
religion, sex, national origin, or age.  Tex. Lab. Code Ann. § 21.051 (Vernon 2006). 
Specifically, section 21.051 of the labor code provides the following:

An employer commits an unlawful employment practice if because of race,
color, disability, religion, sex, national origin, or age the employer:


(1)	fails or refuses to hire an individual, discharges an individual, or
discriminates in any other manner against an individual in connection
with compensation or the terms, conditions, or privileges of
employment; or


(2)	limits, segregates, or classifies an employee or applicant for
employment in a manner that would deprive or tend to deprive an
individual of any employment opportunity or adversely affect in any
other manner the status of an employee.


Id.  The TCHRA also prohibits employers from retaliating or discriminating against an
employee who engages in certain protected activities under chapter 21 of the labor code. 
Id. § 21.055 (Vernon 2006).  In enacting the TCHRA, the Legislature intended to correlate
state law with federal law with respect to employment discrimination; therefore, we look to
federal law in interpreting provisions of the TCHRA.  See M.D. Anderson Hosp. &amp; Tumor
Inst. v. Willrich, 28 S.W.3d 22, 24 (Tex. 2000); NME Hosps., Inc. v. Rennels, 994 S.W.2d
142, 144 (Tex. 1999).

	In order to properly invoke the TCHRA's limited waiver of governmental immunity,
Garcia must have shown a prima facie case of discrimination or retaliation as provided
under that statute.  See Tex. Lab. Code Ann. § 21.051.  Accordingly, the trial court's subject
matter jurisdiction will be defeated if the District can conclusively negate any element of
Garcia's prima facie case of discrimination under the TCHRA.  See Miranda, 133 S.W.3d
at 228 (requiring governmental unit, in asserting a plea to the jurisdiction, to meet the
summary judgment standard of proof); Randall's Food Mkts. v. Johnson, 891 S.W.2d 640,
644 (Tex. 1995) ("A defendant who conclusively negates at least one of the essential
elements of a cause of action is entitled to summary judgment as to that cause of action."). 
We now review the evidence submitted to resolve the jurisdictional issues, with respect to
each of Garcia's claims, as the trial court was required to do.  See Miranda, 133 S.W.3d
at 227; Blue, 34 S.W.3d at 555.

	2. 	Analysis

		a.	Age Discrimination

	To establish a prima facie case of age discrimination, a plaintiff must show:  (1) that
she was discharged; (2) that she was qualified for the position; (3) that she was in the
protected class at the time of her discharge; and (4) that she was replaced by someone
outside the protected class or by someone younger, or otherwise show that she was
discharged because of age.  Tex. Dep't of Cmty. Affairs v. Burdine, 450 U.S. 248, 252
(1981); Bienkowski v. Am. Airlines, 851 F.2d 1503, 1505 (5th Cir. 1988); Stanley Stores,
Inc. v. Chavana, 909 S.W.2d 554, 559 (Tex. App.-Corpus Christi 1995, writ denied);
Adams v. Valley Fed. Credit Union, 848 S.W.2d 182, 186 (Tex. App.-Corpus Christi 1992,
writ denied).

	The District submitted evidence that the person next hired to fill Garcia's position
was three years older than Garcia.  Garcia did not offer any controverting evidence.  The
District argues that Garcia failed to create a fact issue that she was replaced by someone
outside the protected class or by someone younger and that she, therefore, failed to
establish the fourth element of her prima facie case.  We agree that Garcia did not create
a fact issue with regard to her age or Longoria's age.  However, undisputed evidence of
the ages of the respective individuals is not, in and of itself, dispositive of Garcia's claim. 
Garcia could establish the fourth element of a prima facie age discrimination claim by
showing that she was terminated because of her age, regardless of whether she was
replaced by someone younger.  See Bienkowski, 851 F.2d at 1504-05; Adams, 848
S.W.2d at 186 (stating that the fourth element of a prima facie age discrimination claim is
"that [plaintiff] was replaced by someone outside the protected class, or by someone
younger or otherwise show that she was discharged because of age" (emphasis added));
see also O'Connor v. Consol. Coin Caterers Corp., 517 U.S. 308, 312 (1996) (holding, in
the context of an age discrimination claim under the federal Age Discrimination in
Employment Act, that whether "one member of the protected class lost out to another
member is irrelevant, so long as he lost out because of his age").

	In Garcia's original petition, she alleged she was discriminated against by the District
"due to her age" and that "her termination was part of a larger unwritten plan or scheme of
the Defendant School District to discriminate against older Hispanic female employees who
were politically associated with persons adverse to the Administration."  The District did not
bring forth evidence challenging Garcia's claim that she was terminated due to her age
other than to show that she was replaced by an older employee. (3)  Under the applicable law
regarding age discrimination claims, that proof was not sufficient to conclusively negate the
fourth element of Garcia's age discrimination claim.  See Miranda, 133 S.W.3d at 228;
Randall's Food Mkts., 891 S.W.2d at 644.  Accordingly, the trial court was correct to rely
on Garcia's pleadings--including her broad assertion that she was discriminated against
"due to her age"--and to deny the District's plea as to Garcia's age discrimination claim. 
See Miranda, 133 S.W.3d at 228.  The District's issue as to Garcia's age discrimination
claim is overruled.

		b.	Sex, National Origin and Race Discrimination

	To establish a prima facie case of wrongful discharge based on sex, national origin
or race discrimination, Garcia was required to show that:  (1) she is a member of a
protected class; (2) she was qualified for the position that she held before being
discharged; (3) she was discharged; and (4) her employer filled the position with a person
who is not a member of the protected class.  Raggs v. Miss. Power &amp; Light Co., 278 F.3d
463, 468 (5th Cir. 2002) (citing McDonnell Douglas v. Green, 411 U.S. 792, 802 &amp; n.13
(1973); Vaughn v. Edel, 918 F.2d 517, 521 (5th Cir. 1990)) (sex discrimination); Okoye v.
Univ. of Tex. Houston Health Sci. Ctr., 245 F.3d 507, 512-13 (5th Cir. 2001) (citing
Shackelford v. Deloitte &amp; Touche, LLP, 190 F.3d 398, 404 (5th Cir. 1999); Rutherford v.
Harris County, Tex., 197 F.3d 173, 184 (5th Cir. 1999); Davin v. Delta Air Lines, Inc., 678
F.2d 567, 570 (5th Cir. 1982)) (national origin and race discrimination). (4)  The District
presented undisputed evidence to the trial court that Garcia was replaced by a Hispanic
female of Mexican descent; that is, she was replaced by a member of the protected class. (5) 
Because Garcia did not submit any evidence creating a fact issue as to this element, the
trial court should have granted the District's plea to the jurisdiction as to Garcia's sex,
national origin, and race discrimination claims.  See Miranda, 133 S.W.3d at 228 (stating
that "if the relevant evidence is undisputed or fails to raise a fact question on the
jurisdictional issue, the trial court rules on the plea to the jurisdiction as a matter of law"). 
The District's issue as to Garcia's sex, national origin, and race discrimination claims is
therefore sustained.

		c.	Retaliation

	Section 21.055 of the labor code establishes that an employer commits an unlawful
employment practice if the employer retaliates or discriminates against a person who files
a charge of discrimination.  See Tex. Labor Code Ann. § 21.055 (Vernon 2006).  In an
action arising under chapter 21 of the labor code, the plaintiff must first make a prima facie
showing that:  (1) she engaged in a protected activity; (2) an adverse employment action
occurred, and (3) a causal link existed between the protected activity and the adverse
action.  Dias v. Goodman Mfg. Co., L.P., 214 S.W.3d 672, 676 (Tex. App.-Houston [14th
Dist.] 2000, pet. denied); Wal-Mart Stores, Inc. v. Lane, 31 S.W.3d 282, 295 (Tex.
App.-Corpus Christi 2000, pet. denied).  Under the statute, an employee engages in a
protected activity only if the employee, under chapter 21 of the labor code:  (1) opposes
a discriminatory practice; (2) makes or files a charge; (3) files a complaint; or (4) testifies,
assists, or participates in any manner in an investigation, proceeding or hearing.  Tex.
Labor Code Ann. § 21.055.

	In her original petition, Garcia alleged that she suffered retaliation in the form of
wrongful discharge for "participating in an investigation involving another district employee,
namely Mona Parras[,] and for exercising her protected right to freedom of association."
The District claims that Garcia's pleadings are insufficient to confer jurisdiction on the court
because she merely alleged participation in "an investigation."  According to the District,
"this is not enough because the investigation that is at issue must be one that is brought
under Texas Labor Code Chapter 21."  See id.  The District further claims on appeal that
Garcia "judicially admitted that the only Chapter 21 investigation that is related to her case
was her own claim with the Texas Commission on Human Rights" which she initiated on
October 10, 2003, almost eight months after her termination.  It argues that "it is logically
impossible that she was terminated because of something that happened 8 months after
her termination."

	We agree with the District that the protected activity at issue must fall within the
scope of chapter 21.  See id. (prefacing list of protected activities with "under this chapter");
Dias, 214 S.W.3d at 681.  However, we do not agree with the District's representation of
the record.  Nowhere in Garcia's petition does she admit that the only chapter 21
investigation in which she participated was her own.  While it is true that Garcia's pleading
is vague, and could perhaps be the subject of special exceptions, the District did not submit
any evidence to challenge Garcia's allegation that she personally participated in the Parras
investigation.  Moreover, although Garcia generally pleaded retaliation based on her
participation in "an investigation," she did reference section 21.055 of the labor code later
in her pleadings, thus suggesting that the investigation in which she participated was
indeed brought under labor code chapter 21.  We conclude that Garcia's pleadings alleged
sufficient facts to support the trial court's subject matter jurisdiction over her retaliation
claim.  The District's issue as to Garcia's retaliation claim is overruled.

B. 	Whether Garcia Complied With Labor Code Section 21.254

	By its second issue, the District asserts that Garcia failed to comply with the
mandatory and jurisdictional notice requirements contained in the TCHRA.  See Tex. Lab.
Code Ann. § 21.254.  Garcia contends that she filed suit within the sixty-day deadline
imposed by the TCHRA and that she exercised due diligence in serving the District with
notice of her lawsuit.

	The TCHRA provides that an employee must file suit within sixty days of receiving
a right-to-sue letter from the civil rights division of the Texas Workforce Commission.  See
Tex. Lab. Code Ann. § 21.254.  Although the Texas Supreme Court has not directly
addressed whether this sixty-day filing period is jurisdictional, the Court recently concluded
that a different TCHRA provision, allowing a two-year period for a complainant to file suit
after initially making the complaint, see id. § 22.256 (Vernon 2006), is "mandatory but not
jurisdictional."  In re United Servs. Auto. Ass'n, No. 07-0871, 2010 Tex. LEXIS 282, at *24
(Tex. Mar. 26, 2010) (overruling Schroeder v. Tex. Iron Works, Inc., 813 S.W.2d 483, 487
n.10 (Tex. 1991) (holding that the time period for filing a TCHRA lawsuit is "mandatory and
jurisdictional.")).  The Court noted that, absent "clear legislative intent to the contrary," we
must presume "that the Legislature did not intend to make the [provision] jurisdictional." 
Id. at *16 (quoting City of DeSoto v. White, 288 S.W.3d 389, 394 (Tex. 2009)). (6)  In the case
of section 22.256's two-year deadline for filing suit after the initial complaint, "the statute
does not indicate that the provision is jurisdictional or that the consequence of
noncompliance is dismissal."  Id. at *18.  The Court further noted that "[o]ne of the primary
goals of the statute is to coordinate state law with federal law in the area of employment
discrimination," id. at *19 (quoting Vielma v. Eureka Co., 218 F.3d 458, 462 (5th Cir.
2000)), and that "[t]he United States Supreme Court has consistently construed [the]
requirements [of Title VII of the Civil Rights Act of 1964] as mandatory but not
jurisdictional."  Id. at *20 (citing Arbaugh v. Y&amp;H Corp., 546 U.S. 500, 516 (2006); Irwin v.
Dep't of Veterans Affairs, 498 U.S. 89, 95-96 (1990); Crown, Cork &amp; Seal Co., Inc. v.
Parker, 462 U.S. 345, 349 n.3 (1983); Zipes v. Trans World Airlines, Inc., 455 U.S. 385,
393 (1982)).

	The same reasoning holds here.  Section 21.254 does not explicitly say that failure
to comply with the sixty-day deadline for a complainant to file suit after receiving a right-to-sue letter compels dismissal of the complainant's suit or deprives the trial court of
jurisdiction.  See Tex. Lab. Code Ann. § 21.254. (7)  We therefore conclude that the sixty-day
filing period contained in section 21.254 of the TCHRA is mandatory but not jurisdictional. 
Accordingly, the trial court did not err in denying the District's plea to the jurisdiction on this
basis. (8)  The District's second issue is overruled.

C. 	Whether the District is an "Employer" Under Labor Code Chapter 21

	In its third issue, the District argues that it is not subject to the waiver of immunity
contained in chapter 21 of the labor code because it is a school district and not an
"employer."  See Tex. Lab. Code Ann. § 21.002(8).

	The Texas Supreme Court held that immunity is waived as to a school district under
chapter 21 of the labor code.  See Garcia, 253 S.W.3d at 660; see also Copperas Cove
Indep. Sch. Dist. v. Brown, No. 10-09-00047-CV, 2009 Tex. App. LEXIS 9814, at *1-2 (Tex.
App.-Waco Dec. 30, 2009, no pet.) (mem. op.) (rejecting a school district's argument that
school districts are not "employers" as defined by Chapter 21, and therefore, immunity is
not waived).  On appeal, the District essentially asks us to reconsider the supreme court's
resolution of this issue.

	We first note that the "law of the case" doctrine requires that "questions of law
decided on appeal to a court of last resort will govern the case throughout its subsequent
stages."  Hudson v. Wakefield, 711 S.W.2d 628, 630 (Tex. 1986).  Furthermore, this Court
is bound to follow the supreme court's resolution of this issue.  See Lubbock County v.
Trammel's Lubbock Bail Bonds, 80 S.W.3d 580, 585 (Tex. 2002) ("It is not the function of
a court of appeals to abrogate or modify established precedent. . . .  That function lies
solely with this Court. . . .  Generally, the doctrine of stare decisis dictates that once the
Supreme Court announces a proposition of law, the decision is considered binding
precedent.").

	The District argues that Garcia is not the "law of the case" because the specific
issue of whether a school district is immune under the TCHRA was never fully briefed or
argued.  It further argues that the supreme court's more recent decision in Harris County
Hospital District v. Tomball Regional Hospital calls Garcia into question.  See 283 S.W.3d
838 (Tex. 2009).  We are unpersuaded by these arguments.  Notwithstanding the lack of
briefing or argument, the supreme court considered the waiver issue (9) and concluded that
the "TCHRA clearly and unambiguously waives immunity."  Garcia, 253 S.W.3d at 660. 
Thus, we must conclude that the definition of "employer" in chapter 21 of the labor code
includes school districts, and therefore, immunity is waived. (10)  Accordingly, we overrule the
District's third issue.

IV.  Conclusion

	We affirm the judgment of the trial court in part and reverse and render in part as
stated in this opinion.


				

							                                               

							DORI CONTRERAS GARZA,

							Justice


Delivered and filed the

27th day of May, 2010.
1.  Garcia filed her original petition on July 2, 2004, asserting wrongful termination, defamation,
negligent misrepresentation, and fraudulent misrepresentation claims.  Sotuyo and Medina are not parties to
this appeal.  Garcia acknowledges on appeal that Dyer was dismissed from the underlying suit. 
2.  We are compelled to note that the District's jurisdictional complaints raised in the plea to the
jurisdiction at bar could have been raised in the initial plea to the jurisdiction filed in 2004.  While there appears
to be no prohibition on such a piecemeal approach, this practice should be discouraged because of the
inevitable delay and additional expense.  See Tex. Civ. Prac. &amp; Rem. Code Ann. § 10.001(1) (Vernon 2002)
(providing, among other things, that "[t]he signing of a pleading or motion . . . constitutes a certificate by the
signatory that to the signatory's best knowledge, information, and belief, formed after reasonable inquiry . .
. the pleading or motion is not being presented for any improper purpose, including to harass or to cause
unnecessary delay or needless increase in the cost of litigation . . .") (emphasis added); see also Columbia
Med. Ctr. of Las Colinas, Inc. v. Hogue, 271 S.W.3d 238, 258 (Tex. 2008) (Brister, J., concurring) (quoting
Iley v. Hughes, 158 Tex. 362, 311 S.W.2d 648, 651 (1958) ("'Our courts have always frowned upon piecemeal
trials, deeming the public interest, the interests of litigants[,] and the administration of justice to be better
served by rules of trial which avoid a multiplicity of suits.'")); Transp. Ins. Co. v. Moriel, 879 S.W.2d 10, 30 n.29
(Tex. 1994) ("[W]e remain resolute that piecemeal trials as a general rule should be avoided . . . .").
3.  We note that if the District also provided an affidavit or deposition testimony by the appropriate
District personnel attesting that Garcia was not "otherwise . . . discharged because of age," that would have
been sufficient to negate Garcia's prima facie age discrimination claim.  See Bienkowski v. Am. Airlines, 851
F.2d 1503, 1504-05 (5th Cir. 1988); Stanley Stores, Inc. v. Chavana, 909 S.W.2d 554, 559 (Tex. App.-Corpus
Christi 1995, writ denied); Adams v. Valley Fed. Credit Union, 848 S.W.2d 182, 186 (Tex. App.-Corpus Christi
1992, writ denied).  At that point, the burden would have shifted to Garcia to bring forth evidence to create a
fact issue as to her prima facie case in order to avoid dismissal for lack of subject matter jurisdiction.  See
Tex. Dep't of Parks &amp; Wildlife v. Miranda, 133 S.W.3d 217, 228 (Tex. 2004).
4.  A plaintiff may also prove a prima facie case of sex and national origin or race discrimination by
showing that:  (1) she is a member of a protected class; (2) she was qualified for her position; and (3) persons
outside of the class were treated more favorably.  Johnson v. Hoechst Celanese Corp., 127 S.W.3d 875, 880
n.4 (Tex. App.-Corpus Christi 2004, no pet.) (citing Harvey v. Chevron U.S.A., Inc., 961 F. Supp. 1017, 1026
(S.D. Tex. 1997)) (sex discrimination); Greathouse v. Alvin Indep. Sch. Dist., 17 S.W.3d 419, 423 (Tex.
App.-Houston [1st. Dist.] 2000, no pet.) (national origin and race discrimination).  Here, Garcia's original
petition did not specifically assert that persons outside of her protected class were treated more favorably. 
Accordingly, she was required to show that her employer filled her position with a person outside of her
protected class.  See Raggs v. Miss. Power &amp; Light Co., 278 F.3d 463, 468 (5th Cir. 2002); Okoye v. Univ.
of Tex. Houston Health Sci. Ctr., 245 F.3d 507, 512-13 (5th Cir. 2001).
5.  The fourth element of a prima facie sex, national origin or race discrimination claim can only be
satisfied with a showing that the plaintiff was replaced by a person who is not a member of the protected class. 
See Raggs, 278 F.3d at 468; Okoye, 245 F.3d at 512-13.  This stands in contrast to the law regarding age
discrimination claims, where the corresponding element may be satisfied by a showing that the plaintiff was
"otherwise" discriminated against due to age, even if the replacement was older than the plaintiff.  See
Bienkowski, 851 F.2d at 1504-05; Chavana, 909 S.W.2d at 559; Adams, 848 S.W.2d at 186.
6.  The Court also noted that, in Dubai Petroleum Co. v. Kazi, 12 S.W.3d 71, 76 (Tex. 2000), it observed
that "[t]he classification of a matter as one of jurisdiction . . . opens the way to making judgments vulnerable
to delayed attack for a variety of irregularities that perhaps better ought to be sealed in a judgment" and that
"the modern direction of policy is to reduce the vulnerability of final judgments to attack on the ground that the
tribunal lacked subject matter jurisdiction."  In re United Servs. Auto. Ass'n, No. 07-0871, 2010 Tex. LEXIS
282, at *12-13 (Tex. Mar. 26, 2010) (quoting Dubai, 12 S.W.3d at 76).
7. Several other courts have directly considered the sixty-day limit provided in section 22.254 and have
concluded that the requirement is not jurisdictional.  See Tex. Dep't of Transp. v. Beckner, 74 S.W.3d 98, 103
(Tex. App.-Waco 2002, no pet.); Middleton v. Gould, 952 F. Supp. 435, 438 (S.D. Tex. 1996); Corner v. Gates
of Cedar Hill, No. 3-00-CV-2499-N, 2002 U.S. Dist. LEXIS 16944, at *6-7 (N.D. Tex. Sept. 9, 2002)); see also
Windle v. Mary Kay, Inc., No. 05-02-00252-CV, 2003 Tex. App. LEXIS 5594, at *4 (Tex. App.-Dallas July 1,
2003, pet. denied) (mem. op.).
8.  The District argues that Garcia's alleged failure to notify the District of her suit within the sixty-day
filing period deprived the trial court of subject matter jurisdiction, considering section 311.034 of the
government code provides that "[s]tatutory prerequisites to a suit, including the provision of notice, are
jurisdictional requirements in all suits against a governmental entity."  See Tex. Gov't Code Ann. § 311.034
(Vernon Supp. 2009).  However, the language referenced by the District was not included in the version of
section 311.034 that was in effect when Garcia filed suit on July 2, 2004.  See Act of June 15, 2001, 77th Leg.,
R.S., ch. 1158, § 8, 2001 Tex. Gen. Laws 2374, 2433 (amended 2005) (current version at Tex. Gov't Code
Ann. § 311.034).  In fact, the predecessor to section 311.034 provided the following:


In order to preserve the legislature's interest in managing state fiscal matters through the
appropriations process, a statute shall not be construed as a waiver of sovereign immunity
unless the waiver is effected by clear and unambiguous language.  In a statute, the use of
"person" as defined by Section 311.005 to include governmental entities does not indicate
legislative intent to waive sovereign immunity unless the context of the statute indicates no
other reasonable construction.


Id.  Because the predecessor to section 311.034 is silent as to statutory prerequisites and jurisdictional
requirements, we are not persuaded by the District's argument.
9.  "Here, Garcia alleges that the Legislature waived the ISD's immunity in the TCHRA."  Garcia, 253
S.W.3d at 660.
10.  We also note that the District, in arguing that it is not an "employer" within the context of chapter
21 of the labor code, argues that it is neither a "political subdivision" of the State of Texas nor a "state
instrumentality."  If this were true, then, in reconciling chapter 21 of the labor code with section 51.014 of the
civil practice and remedies code (the statute authorizing certain interlocutory appeals), the District would not
be entitled to appeal the trial court's interlocutory order in this case.  Compare Tex. Lab. Code Ann. §
21.002(8) with Tex. Civ. Prac. &amp; Rem. Code Ann. § 51.014(a)(8) (providing that a governmental unit as defined
by section 101.001 of the civil practice and remedies code may appeal from an interlocutory order granting
or denying a plea to the jurisdiction); see Tex. Civ. Prac. &amp; Rem. Code Ann. § 101.001(3)(B) (defining a
"[g]overnmental unit" as "a political subdivision of this state including any . . . school district . . . ") (emphasis
added).


